      Case 2:17-cv-08309-RGK-PLA Document 25 Filed 08/22/18 Page 1 of 6 Page ID #:319




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            United States of America                                                                    cs> c-~ ~'
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  10                                 UNITED STATES DISTRICT COURT
 11                         FOR THE CENTRAL DISTRICT OF CAL
                                                                               IFORNIA
 12                                         WESTERN DIVISION
 13        UNITED STATES OF AMERICA ex
           rel.[UNDER SEAL],                             No. CV 17-8309-RGK(PLA)
 14                                                                                                                          i~
                      Plaintiffs],                                            ORDER TO DISMISS
 15                                                      ACTION                TO UNSEAL CASE
                            v.                           jFILED UNDER SEAL PURSUANT
 1 6 'i                                                                               TO
           (TINDER SEAL),                                THE FALSE CLAIMS ACT,31 U.S .C.
 17 j                                                    §§ 3730(b)(2) AND (3)]
                      Defendant[s].                     [FILEID CONCURRENTLY UNDER
 18
                                                        SEAL: UI~IITED STATES' AND STATE
                                                        OF CALIFORNIA'S CONSEN TO
 19                                                     RELATOR'S DISMISSAL OF T
20                                                      AND REQUEST FOR UNSEALAC ING
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                                                        CASEI
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 1   CHAD A. READLER
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 2   MICHAEL D. GRANSTON
     ANDY J. MAO
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 3   AMYL.LIKOFF                                               CENT        ST CT OF CAUFORNII
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 8   Attorne s for the                                                '
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     United tates of America                                          v;~~;
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10                          ITNITED STATES DISTRICT COURT                    ~~
11                    FOR THE CENTRAL DISTRICT OF CALIFORrIIA
12                                   WESTERN DIVISION
13 '~ UNITED STATES OF AMERICA ez                No. CV 17-8309-RGK(PLA)
      rel.[UNDER SEAL],
14                                              [           ORDER TO DISMISS
               Plaintiff[s],                    ACTION A     TO UNSEAL CASE
15
                      v.                        [FILED UNDER SEAL PURSUANT TO
16                                              THE FALSE CLAIMS ACT,31 U.S.C.
   [UNDER SEAL],                                §§ 3730(b)(2) AND (3)]
I7
               Defendant[s].                    [FILED CONCURRENTLY UNDER
18                                              SEAL: UNITED STATES' AND STATE
                                                OF CALIFORTtIA'S CONSENT TO
19                                              RELATOR'S DISMISSAL OF ACTION
                                                AND REQUEST FOR UNSEALING OF
20                                              CASEI
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      United Mates of America

10                            UNITED STATES DISTRICT COURT
11                     FOR THE CENTRAL,DISTRICT OF CALIFORNIA
12                                   WESTERN DIVISION
13    UNITED STATES OF AMERICA :and              No. CV 17-8309-RGK(PLA)
      THE STATE OF CALIFORNIA, ex rel.
14    INTEGRA MED ANALYTICS LLC,                [PROPOSED] ORDER TO DISMISS
                                                ACTION AND TO UNSEAL CASE
15               Plaintiff,
                                                [F_ ILED UNDER SEAL PURSUANT TO
16                     u                        ~rHE FALSE CLAIMS ACT,31 U.S.C.
                                                §§ 3730(b)(2) AND {3)]
17    LONGWOOD MANAGEMENT
      CORP.; ABILITY HOlVIECARE,INC;
18     ALDEN ENTERPRISES,INC;                   [F_ ILED CONCURRENTLY UNDER
      ARTESIA HEALTHCARE,INC.;                  SEAL: TJNITED STATES' AND STATE
19    BEAUMONT MANOR,LLC;                       OF CALIFORNIA'S CONSENT TO
      BROADWAY MANOR CARE                       RELAT'OR'S DISMISSAL OF ACTION
20    CENTER,INC.; BURBANK                      AND REQUEST FOR UNSEALING OF
      HEALTHCARE,INC.~ BURLINGTON               CASE]
21    CONVALESCENT HOSPITAL,INC.;
      CASA BONITA CONVALESCENT
22    HOSPITAL,INC.; CHINO VALLEY
      REHABILITATION CENTER,LLC;
2,3   COLDWATER CARE CENTER,INC.;
      COLONIAL- CARE.CENTER,INC.;
24    COVINA CARE CENTER,INC.;
      CRENSHAW ENTERPRISES,INC.;
25    ICC CONVALESCENT HOSPITAL,
      INC.;IMPERIAL CREST
26    HEALTHCARE CENTER,LLC;
      LAUREALWELLNESS AND
27    NURSING CENTER,LLC;
      LONGWOOD ENTERPRISES,INC.;
28
Case 2:17-cv-08309-RGK-PLA Document 25 Filed 08/22/18 Page 4 of 6 Page ID #:322




 1 CONVALESCENT HOSPITAL INC.;
   MONTROSE HEALTHCARE,INC.;
 2 NORMANDIE WILSHIRE
   REITREMENT HOTEL,LNC.;
 3 NORTHRIDGE CARE CENTER,INC.;
   NORWALK HEALTHCARE INC.;
 4 PARK ANAHEIM HEALTH CARE
   LLC;PICO RIVERA HEALTHCARE,
 5 NC.; SAN GABRIEL
   I
   CONVALESCENT CENTER,.INC.;
 6 SGV HEALTHCARE INC.; SHEA
   HEALTHCARE CENTER,INC.;
 7 STUDIO CITY CONVALESCENT
   HOSPITAL; SL~INYVIEW
 8 CONVALESCENT HOSPITAL,INC.;
   TZIPPY CAFE INC.; VIEW PARK
 9 CONVALESCENT HOSPITAL,ING.
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Case 2:17-cv-08309-RGK-PLA Document 25 Filed 08/22/18 Page 5 of 6 Page ID #:323




 1          Qui tam plaintiff Integra Med Analytics, LLC (the "Relator") having requested,
 2   pursuant to Rule 41(a) ofthe Federal Rules of Civil Procedure, that the above-captioned
 3   action ("this action") be dismissed without prejudice; the United States of America
 4 ("United States") and the State of California having consented, in the interests ofjustice,
 5 to such dismissal without prejudice, the Court now orders as follows:
 6         IT IS HEREBY ORDERED that:

 7          1.    This action is dismissed without prejudice.
           2.     The seal is lifted from this action in all respects, except as specified in
 8
     Paragraph 4 below.
 9
           3.     Ofthe documents filed and lodged to date in this action, the following
10
     documents only shall be unsealed:
11
                  a. The Relator's Amended Complaint;.
12
                  b. The Relator's Request for Dismissal of Action; United States' and State
13
                     of California's Consent and Request for Unsealing the Case; and
14
                 c. This Order.
1S         4.    AlI other contents ofthe Court's fle in this action, filed and lodged to date,
16   shall remain permanently under seal and shall not be made public or served upon any
17   defendant or other party or person.
18
19
20   Dated:                ~ ~~
                                                    UNIT DST         ES DISTRICT JUDGE
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 Case 2:17-cv-08309-RGK-PLA Document 25 Filed 08/22/18 Page 6 of 6 Page ID #:324




 1                            PROOF OF SERVICE BY U.S. MAIL
 2         I am over the- age of 18 and not a party to the above-captioned action. I am
 3   employed by the Office of United States Attorney, Central District of California. My
 4   business address is 300 North Los Angeles Street, Suite 7516, Los Angeles, California
 5 II 90012.
 6         On August~20I8, I served the UNITED STATES' AND STATE OF
 7   CALIFORNIA'S CONSENT TO RELATOR'S DISMISSAL OF ACTION AND
 8   REQL]EST FOR UNSEALING OF CASE;PROPOSED ORDER on each person or
 9   entity named below by U.S. mail.
10         Date of mailing: August~2018. Place of mailing: Los Angeles, California.
11         Persons) and/or Entity(s) to whom mailed:
12      P. JASON COLLINS                             CARLOTTA HIVORAL
        JEREMY H. WELLS                              Deputy Attorney General
13      REID, COLLINS, TSAI LLP                      Office ofthe Attorney General
        1301 S. Capital of Texas Hwy                 California De~ partment of Justice
14      Building C, Suite 300                        1455 Frazee Road, Suite 315
        Austin, Texas 78746                          San Diego, California 92108-4304
15
        JASON H. TOKORO
16      MILLER BARONDESS,LLP
        1999 Avenue oft11e Stars, Suite 1000
17      Los Angeles, California 90067
18      Attorneys for the Relator
I9        I declare that I am employed in the office of a member ofthe bar of this Court at
20   whose direction the service was made.
21        I declare under penalty of perjury that the- foregoing is true and correct.
22        Executed on August~2018, at Los Angeles, California.
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